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                            UNITED STATES DISTRICT COURT
 9
                           NORTHERN DISTRICT OF CALIFORNIA
10

11 SANDRA McMILLION, JESSICA ADEKOYA, Case No.: 4:16-cv-03396-YGR JSC
   AND IGNACIO PEREZ,on Behalfof
12 Themselves and all Others Similarly Situated, DEFENDANT RASH CURTIS &
                                                 ASSOCIATES'OPPOSITION TO
13       Plaintiffs,                             PLAINTIFFS' MOTION TO APPOINT
14 v.                                            KOURTNEY RICHARDSON AS CLASS
                                                 REPRESENTATIVE
15 RASH CURTIS &ASSOCIATES,
                                                 Date: January 9, 2018
16       Defendant.                              Time: 2:00 p.m.
                                                 Courtroom 1 — 4th Floor
17                                               Judge: Yvonne Gonzalez Rodgers
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       DEFENDANT RASH CURTIS &ASSOCIATES'OPPOSITION TO PLAINTIFFS' MOTION 1'U AYYUIN'1'
                      KOURTNEY RICHARDSON AS CLASS REPRESENTATIVE
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         TABLES TO DEFENDANT RASH CURTIS &ASSOCIATES' OPPOSITION TO PLAINTIFFS' MOTION TO
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 1
                                               I.   INTRODUCTION
2

 3          Defendant Rash Curtis &Associates opposes Plaintiffs' motion to add Ms. Kourtney Richardson

4 (as a named class representative because:

 5         (1) after more than a year and a half of litigation in the McMillion matter, there is a named class

6 representative, Ignacio Perez, and the addition of Ms. Richardson is unnecessary;

7          (2) Ms. Richardson, by Plaintiffs' own admission, is ostensibly a member of one or more of the

 8 classes certified in McMillion though, as shown below, this is controverted and thus she as such would

9 not be a suitable class representative because the records suggest factual issues exist as to whether Rash

10 Curtis:(a)possessed prior express consent to call her, and (b) did not skip trace her number;

11         (3) only limited discovery has been performed in Richardson, and Defendant will be prejudiced

12 ~in opposing this motion without conducting discovery;

13          (4)discovery is cut off in this action, the last date to amend has expired, a trial date has been set,

14 and so forth; despite Plaintiffs' argument that Defendant could shoehorn Richardson's deposition in

15 before Christmas, this is neither fair nor consistent with due process;

16         (5) finally, Plaintiffs have utilized attorney-client privileged emails to advance their position,

17 contrary to the parties' stipulation and this court's September 9,2017 order(ECF Doc. 92).

18                        II.     FACTUAL AND PROCEDURAL BACKGROUND
19
     A.     The McMillion Case
20
            Plaintiffs Sandra McMillion, Jessica Adekoya, and Ignacio Perez filed this action alleging claims
21
     under the TCPA,FDCPA,and RFDCPA on June 17,2016. Though the class claims transmogrified over
22
     .the course of the litigation, on September 6, 2017,this court certified four TCPA classes with Mr. Perez
23
     'as the class representative. (September 6, 2017 Order Granting Class Certification, ECF Doc 81 at pp.
24
     15:23-16:11.) An essential element common to each certified class is the requirement that the telephone
25
              called "was obtained by Rash Curtis through skip tracing." (See 9/6/17 Order, ECF Doc. 81, at
26
          16:1-11.)
27

28
                                                        -1-
                  RASH CURTIS &ASSOCIATES'OPPOSITION TO PLAINTIFFS' MOTION TO APPOINT KOURTNEY
                                 RICHARDSON AS CLASS REPRESENTATIVE
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 1
            Pursuant to this court's scheduling orders and the Federal Rules, fact discovery closed on
2
      December 1, 2017, and expert discovery is set to close on January 29, 2018. Clearly, the last day to
3
      amend has passed. Both parties filed cross-motions for summary judgment/partial summary judgment
4
      on the dispositive motion cutoff date of December 11,2017. Those dispositive motions will be heard on
5
      January 30, 2018. The pretrial submissions are due by no later than March 23, 2018, and the pretrial
6
      conference is set to be heard on Aprii 6,2018. Trial is set to commence on Apri130, 2018.
7
      B.    The Richardson Case
8
            The Richardson v. Rash Curtis matter was filed on April 13, 2017 (4:17-cv-02047-YGR, ECF
9
      Doc. 1). Very little litigation has occurred in the matter, and little discovery has been conducted.l (Ellis
10
      Decl., ¶ 2.) The parties prepared and filed a Joint Case Management Conference Statement on June 30,
11
     '2017(ECF Doc. 4), and an anticipated Eariy Neutral Evaluation Conference was set. (Id.) However,
12
      Richardson's lead counsel resides in Florida and was affected by the September 2017 hurricanes, and the
13
      BNE has been postponed twice. (Id. at ¶ 3.)
14
             Meanwhile, as this Court is aware, in the McMillion matter, class discovery proceeded in earnest
15
               May lst through November of 2017. (Id.)
16
             On November 21, 2017, class counsel in McMillion filed the motion to relate the case with the
17
                  case. A$er the Thanksgiving holiday, on November 28,2017,this Court granted the motion
18
      without defendant having an opportunity to respond and raise the issue of why it believes the cases are
19
      not truly related due to the skip tracing requirement in McMillion that is absent in Richardson.
20
            In any event, the Richardson case alleges a wrong number claim under the TCPA(4:17-cv-02047-
21'
      YGR Complaint, at ECF Doc. 1, at pp. 13-14) as well as claims of call frequency harassment under 15
22
      U.S.C. § 1692d of the FDCPA (id. at p. 14), as well as a parasitic claim under California Civil Code §
23
      1788.17 of the RFDCPA. (Id. at pp. 14-15). The putative classes sought to be certified by Ms.
24
      Richardson are:
25

26

27
   I   Ms. Richardson has propounded interrogatories and requests for production. Both parties have
28 exchanged initial disclosures.
                                                         -2-
                  RASH CURTIS &ASSOCIATES'OPPOSITION TO PLAINTIFFS' MOTION TO APPOINT KOURTNEY
                                 RICHARDSON AS CLASS REPRESENTATIVE
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 1                                          TCPA Class
 2             "All persons and entities throughout the United States (1) to whom Rash Curtis &
 3             Associates placed, or caused to be placed, calls(2)directed to a number assigned to
               a cellular telephone service, by(3) using an automatic telephone dialing system or
 4             an artificial or prerecorded voice, (4) from four years prior to the date of this
               complaint through and including the date of class certification, (5) absent prior
 5             express consent — in that the called party was not the intended recipient ofthe calls.
 6                                     Debt Collection Class
 7
               All persons and entities through the United States (1) to whom Rash Curtis &
 8             Associates placed, or caused to be placed, calls,(2} from one year prior to the date
               of this complaint through and including the date of class certification, (3) and in
 9             connection with the collection ofa consumer debt,(4)after the called party informed
               Rash Curtis &Associates that it was calling the wrong person."
10
     (Id. at p. 10:6-17.)
11
            Significantly, the putative class definitions in RichaYdson are not the same as the classes certified
12
     in McMillzon in that no FDCPA class was sought in McMillion, and the Richardson class definition is
13
     silent as to skip tracing, but skip tracing is an essential common element of every class certified in
14
                  Nonetheless, Plaintiffs' Motion to Appoint Richardson as Class Representative(ECF Doc.
15
     138), at p, 1:6-10, erroneously states: "[the] evidence unequivocally shows that Plaintiff Richardson is a
16
     class member:(1) she is anon-debtor,(2) she was called by Defendant's autodialer on her cell phone,
17
     (3)she heard a prerecorded message upon answering the phone,(4)her cellphone number was obtazned
18
     b~efendant through skip tracing, and (5) she has never provided Defendant (or its creditor clients)
19
     prior express consent to call her using AIDS technology."(Emphasis added.)
20

21 C.       Richardson Discovery

22          Although little formal discovery has been conducted in Richardson, Rash Curtis' investigation to

23 date has revealed the following:

24 Rash Curtis was assigned numerous collection accounts over several years as to one Jagindar Prashad,
                                                                                                  Rash
25 which he incurred for medical services. (Keith Decl., at ~ 2.) On or about September 19, 2016,
                                                                                             Decl., at
26 was referred an overdue medical debt from Dr. James Greer, dba Brentwood Podiatry. (Keith

27 ¶ 3.)

28          When the account was referred by Dr. Greer's office, Rash Curtis was provided Mr. Prashad's

                                                        -3-
                  RASH CURTIS &ASSOCIATES' OPPOSITION TO PLAINTIFFS' MOTION TO APPOINT KOURTNEY
                                 RICHARDSON AS CLASS REPRESENTATIVE
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 1
     cell phone number ending in 9652. (Id.) The records from Brentwood Podiatry demonstrate that the
 2
     9652 number was provided by Mr. Prashad, without restriction, on March 24, 2014, to Rash's creditor
 3
     client, Dr. Greer, and that number was, in turn, given to Rash Curtis as a contact number. (Id. at ¶ 4.)
4
     The Patient Information and Financial Responsibility Form from Dr. Greer's office, showing that Mr.
 5
     Prashad supplied his cell number ending in 9652, is attached as Exhibit A to Defendant's Master List
6
     of Exhibits.
 7
           From that point forward, Rash Curtis began calling this number associated with Mr. Prashad,
 8
     either manually — or otherwise.        (Id. at ¶ 5.)     In short, Rash Curtis did not discover the
 9
     Prashad/Richardson's cell phone number through skip tracing. (Id. at ¶ 6.)
10
            Subsequently, a ter the Prashad assignment from Dr. Greer, Rash Curtis' records indicate an
11
     "ECA trace" was run, and the 9652 number was confirmed. (Id., at ¶ 7.) Rash Curtis' records
12
                    the 9652 number was obtained by an ECA trace, but it was then stored in phone field 8 — a
13
          that cannot be autodialed. In short, the number at issue here was originally obtained from a client,
14
        from skip tracing. (Id., at ~~ 5-7.)
15
                                               III.   ARGUMENT
16

17         Governing Standards

18         Substitution or addition of class representatives may be permitted by a district court in its

19 discretion, but "it's not automatic." Randall v. Rolls-Royce Corp., 637 F.3d 818, 826(7th Cir. 2011)

20 (per Posner, J.)("Substitution (via permissive intervention by an unnamed plaintiff, who,ifintervention

21 is allowed becomes the named plaintiff and thus the class representative)ispossible.")(citing cases and

22 Fed. R. Civ. Proc. 23(d)(1)(B)(iii)). Factors that courts look to in deciding the motion are the necessity

23 of the motion (recognizing that class counsel should not be allowed to get "multiple bites" at the

24 certification apple),2 as well as the delay or prejudice to the opposing parties' rights. Randall,637 F.3d

25 at 827 (affirming denial of motion to intervene with new class representative); In re Flash Memory

26 Antitrust Litigation, 2010 WL 2332081, at *17(N.D. Cal. 2010)(motion was denied as untimely, as it

27

28 ~~Z Randall, 637 F.3d at 827.
                                                       'j'~
                    RASH CURTIS &ASSOCIATES' OPPOSITION TO PLAINTIFFS' MOTION TO APPOINT KOURTNEY
                                   RICHARDSON AS CLASS REPRESENTATIVE
           Case 4:16-cv-03396-YGR Document 143 Filed 12/18/17 Page 9 of 14

 1
     would require new and additional discovery severely prejudicing defendants); In re HP Inkjet Printer
2
                2008 WL 2949265, at *7(N.D. Cal. 2010)(same); Fraker v. Marysville Exempted Village
3
     Schools, 2010 WL 785283, at *3(S.D. Ohio 2010)(same).
4
           The District Court in Leon v. S.D. Metro Transit Sys., 2016 WL 3952154, at *5 (S.D. Cal. 2016)
5
     wrote, in language applicable here:
6
              Some cases from other circuits would allow precertification substitution in some
7             circumstances. See Phillips v. Ford Motor Co., 435 F.3d 85, 787(7th Cir. 2006).
              However, given the late stage ofthis request —nearly two years into this case and
 8
              after the close of discovery —the Court finds that it would unduly prejudice
9             Defendants to.permit substitution here. See In re Milk Prods. Antitrust Litigation,
              195 F.3d 430,438(8th Cir. 1999)("Granting[a motion to add class plaintiffs] would
10            have required reopening class discovery and further delay, precisely the sort of
              prejudice that justifies denial of a motion to amend under Rule 15(a)."); Osakan v.
11            Apple American Group, 2010 WL 1838701, at *3, *5(N.D. Cal. 2010). (Emphasis
              added.)
12

13
           As shown below, not only should this motion be denied because discovery is cut off and a trial
14
     date is four and a half months away, but it is completely unnecessary. There is an existing class
15
     representative, Ignacio Perez, who has already been deemed adequate by this Court.
16
     B.    Adding Ms.Richardson as a Class Representative in the McMillion Action is Unnecessary
17         and She Has Potential Conflicts with the Certified Classes in McMillion.
18
           First, and most fundamentally, the McMillion matter has been certified as to four classes and Mr.
19 Perez
         has been named the class representative. It is wholly unnecessary to name an additional class
20
     representative.
21
           Second, to do so creates other problems with discovery (and due process); Plaintiffs' counsel
22
           this motion granted with only a perfunctory nod to the lack of discovery in Richardson, and the
23
     fact discovery is closed here. Class counsel has suggested that all necessary discovery including Ms.
24
     Richardson's deposition could be conducted "during the pendency of this motion"(over the Christmas
25
     and New Year holidays), which is set to be heard January 9, 2018. See Plaintiffs' Motion, at p. 10:11-
26         Moreover, class counsel seems to forget, they are not Ms. Richardson's attorneys, who
     13.

27 presumptively will need to agree to produce her. The plan is not workable and definitely appears


                                                     -5-
                 RASH CURTIS &ASSOCIATES' OPPOSITION TO PLAINTIFFS' MOTION TO APPOINT KOURTNEY
                                RICHARDSON AS CLASS REPRESENTATIVE
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 1
     intended to work a hardship and to prejudice Rash Curtis' due process rights to oppose the motion and
 2
     prepare a defense. (Id.)
 3
           Third, while Ms. Richardson may or may not be a member of one or more of the McMillion
 4
     certified classes,3 the specifics of her claims are different and potentially conflicting and atypical. For
 5
     example, her complaint and class definitions do not allege skip tracing occurred.
 6
           Finally, to add her at this late date in McMillion will require reopening discovery in McMillion
 7
     and moving the trial date. And ifshe is added, does the Richardson action disappear, as it will no longer
 8
     have a putative class representative, and the action will be redundant?
 9
     C.    Adding Ms. Richardson as a Class Representative in McMillion is Not Proper as She is Not
10         Typical of the Claims Certified Here.
11         As noted above in the declaration ofBob Keith, Vice President ofOperations ofRash Curtis, Rash
12 Curtis originally obtained the number it called from its creditor client, Brentwood Podiatry, and thus had

13 consent to call that number, notwithstanding that the recipient was Ms. Richardson, not Mr. Prashad.

14 Defendant is, ofcourse, aware that this court,relying upon Meyer v. Portfolio Recovery Associates, LLC,

15 707 F.3d 1036(9th Cir. 2012), has tentatively disagreed with this argument, but, respectfully, the issue

16 of whether consent follows the name or number has not been definitely decided in this circuit, much less

17 by the United States Supreme Court. Cf. Van Patten v. Vertical Fitness Group, LLC, 847 F.3d 1039,

18 1045(9tl
         'Cir. 2017)(focus is whether the call is ofthe "type" invited by providing number). It is one of
19 the significant issues before the D.C. Circuit in ACA International, et al. v. Federal Communications

20 Commission. It may ultimately be a legal issue offirst impression here.

21         But even assuming prior express consent is determined not to exist here as to Ms. Richards, skip
22 tracing is still required as a common element, and Ms. Richardson's class complaint does not allege that

23 common "fact'anywhere. For this reason alone, on this record, her claim appears atypical, and she does

24

25

26
   3 Which is not clear since each class certified in McMzllion requires the element of skip tracing, an
27 element that is not alleged in Richardson's still-putative class action or in her declaration here. (Cf.
   9/6/17 Order, ECF Doc. 81, with Richardson's Complaint, 4:17-cv-02047-YGR, ECF Doc. 1, at ¶¶ 21-
28 44("Factual Allegations")).
                                                       -6-
     EFENDANT RASH CURTIS &ASSOCIATES' OPPOSITION TO PLAINTIFFS' MOTION TO APPOINT KOURTNEY
                             RICHARDSON AS CLASS REPRESENTATIVE
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 1
     not qualify to be a class representative in the McMillion case. See Hanon v. Data Products Corp., 976,
 2
                        'Cir. 1992).4
     F.2d 497, 508-509(9ti
 3
     D.     Adding Ms.Richardson as a Class Representative on this Record is Not Warranted and is
 4          Prejudicial to Defendant.
 5          Plaintiffs' motion speculates that Ms. Richardson will be an "excellent" class representative in
 6     cMillion. Not to be repetitive, but the record is not sufficiently developed, as little discovery has been

 ~ conducted to conclude if the 9652 number used was obtained by skip tracing, and Defendant denies this

 g based on its review ofits records. {Keith Decl., at ¶ 8.) If Ms. Richardson's number was not skip traced,

 g she will be subject to a unique defenses making her an inappropriate class representative. Hanon, at
10 508-509. The mere fact her cell phone number may have been placed in a telephone number field

11 typically reserved for numbers not obtained from clients is not diapositive here. For example, the email

12 trail that is reflected in the exhibits supporting the motion (see Plaintiffs' Memorandum of Points and

13 Authorities, ECF Doc. 138, at pp. 5:2; and Exhibit 5 to Krivoshey Deci., 5/12/16 Email from Mr. Keith,

14 ECF Doc. 138-1, at p. 38) suggests numbers maybe placed in fields 5-10 by human error, not because

15        were skip traced. (Id.)

            Likewise, Account No. 1952383 referred to in Mr. Keith's otherwise attorney-client privileged
17 emails (see Exhibit 7 to Krivoshey Decl., 5/22/17 Emails from Mr. Keith) refer to an account for Mr.

18 Prashad related to medical services rendered to him at John Muir in 2010, and which had been referred

19 to Rash Curtis in 2013, but which account was not collected upon in 2016 or 2017, the time period in

20 question here.s (Ellis Decl., at ~ 5; Keith Decl., at ¶ 8.)

21

22

23
   4 In determining Ms. Richardson's suitability as a class representative, class counsel bears the burden to
24
   establish her typicality under Rule 23(a). Hanon, at 508. This requirement, like all of the prerequisites
   of Rule 23(c), may only be satisfied after a rigorous analysis. Id., at 509(City Gen'l Tel. Co. Southwest
25
   v. Falcon, 457 U.S. 147, 161, 102 S.Ct. 2364,2372(1982)). In Hanon,supra, the Ninth Circuit affirmed
   denial of class certification because the proposed class representative failed to satisfy the typicality
26 requirement in that he was "subject to unique defenses." Hanon, at 508. And,so it is here.

27 5 As discussed infra, Defendant objects to the use of Exhibit 7 which contain attorney-client privileged
   emails, subject to this court's order of September 19, 2017. Defendant requests these documents be
28 stricken.
                                                        -7-
                 RASH CURTIS &ASSOCIATES' OPPOSITION TO PLAINTIFFS' MOTION TO APPOINT KOURTNEY
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 1 E.      To the Extent Plaintiffs' Motion is Dependent Upon Exhibit 7, Attorney-Client Privileged
           Communications from the Richardson Case, and Subject to this Court's Claw-Back and
2          Presumptively-Privileged Protocol Order,Exhibit 7 Should Be Stricken, the Motion
 3         Should Be Denied, and Plaintiffs' Counsel Should Be Admonished.

4          Class counsel has improperly attached Exhibit 7 to this motion to add Ms. Richardson as class

5 representative. This exhibit is made up oftwo May 2017 emails from Bob Keith internally at Rash Curtis

6 communicating back to an email sent to him from Ellis Law Group(Mark Ellis) about the then new case

7 ofRichardson v. Rash Curtis &Associates. (Ellis Decl., at ~ 8.) These emails were produced as part of

 8 the Orders to immediately produce Rash Curtis' emails —but subject to the stipulated order by the Court

9 that such rapid production would not waive privileges and that any attorney-client privileged

10 communications would be "clawed back." (See Stipulated "Clawback" Agreement and Presumptively-

11 Privileged Protocol Order, dated September 19, 2017(ECF Doc. 92).)

12         Class counsel improperly attempted to use Exhibit 7 at Mr. Keith's deposition, to which objection

13       made on the basis of privilege. (Ellis Decl., ¶ 6; as set forth in Exh. B to Defendant's Master List

14      Exhibits, Excerpts from Keith Depo.) Defendant's counsel agreed to permit class counsel to ask

15            based upon a stipulation that there would be no claim of waiver ofthe attorney-client privilege

16 '(Ellis Decl., ¶ 7), to which class counsel agreed. (See Exh. B,Keith Depo., at pp. 20:22-28:20.)

17         The emails in Exhibit 7 are attorney-client privileged as communications between counsel and

18 client, and more specifically between the client contact (Bob Keith) and his associates on behalf of

19 counsel within the first month of the Richardson litigation. (Ellis Decl., ¶ 6.) Thus Exhibit 7 must be

20 stricken, and class counsel should be admonished for using the email in support of this motion. These

21 emails were made part ofDefendant's privilege log.(Ellis Decl.,~~ 6, 10; Exh. C to Defendant's Master

22 List of Exhibits.)

23         The attorney-client privilege is deemed fundamental to the proper functioning of our system of

24          See, e.g., Upjohn Co. v. United States, 449 U.S. 383, 389(1981); Brandt v. Smith, 634 F.2d 796,

25 800(5th Cir. 1981); Partington v. Gedan, 961 F.2d 852, 863 (9th Cir. 1992). The rationale and policy

26 undergirding the privilege is the encouragement of"full and frank communication between attorneys and

27 their clients...[to] thereby promote broader public interests in the observance oflaw and administration

28 ofjustice. The privilege recognizes that sound legal advice or advocacy serves public ends, and that such


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 1
     advice or advocacy depends upon the lawyer's being fully informed by the client." Upjohn, 449 U.S. at
2
     389; Restatement(3rd)Law Governing Lawyers § 68, comment(c).
3
           The attorney-client privilege,iffound applicable,is absolute, and it applies broadly in the litigation
4
     context. See Martin v. Valley National Bank, 140 F.R.D. 291, 306(S.D.N.Y. 1991). It maybe asserted
5
     in all proceedings, as here,in which testimony may be compelled. See Swidler &Berlin v. Unzted States,
6
     524 U.S. 399,408-409(1998).
7
            The privilege is held by the client, who has the sole authority to waive the privilege. Nonetheless,
8
     the attorney is required to assert or invoke the privilege when necessary on behalf of the client, even
9
     without an express instruction by the client.
10
            There are few exceptions to the privilege where the communication is between attorney and client;
11
     it is presumed to exist; if the privilege applies, compelled disclosure is forbidden regardless of need. In
12
     re Grand Jury Invest., 599 F.2d 1224, 1253 (3rd Cir. 1979). The burden of showing waiver falls on the
13
     party seeking disclosure. Id.
14
            Attorney-client confidential communications include those, as here, made to third parties if
15
     reasonably necessary to accomplish the purpose of transmitting the information between attorney and
16
     client, or accomplishing the purpose for which the attorney was hired; this includes confidential
17
     communications with or between agents of the client. See, e.g., Upjohn, supra, 449 U.S. at 391-393;
18
            gal Steel Products Co. v. Superior Court, 164 Ca1.App.3d 476, 210 Ca1.Rptr. 535, 539 (1985);
19
            v. Superior Court, 157 Ca1.App.3d 1192, 1200,204 Ca1.Rptr. 111, 116(1984).
20
            The privilege applies during litigation investigations. See Wellpoint Health Networks, Inc. v.
21
            oY Court, 59 Ca1.App.4th 110, 122 Cal. Rptr. 844, 852 (1997). The privilege covers an agent
22
            ig with an attorney. Kaiser Foundation Hospitals v. Superior Court, 66 Cal.App.4tl
                                                                                           '1217, 1227-
23
     ~ 1228, 78 Cal.Rptr.2d 543, 548-550(1998).
24
            Here,the emails in question were produced in response to this Court's orders, and they are subject
25
     ~to the stipulated claw-back order. A privilege log related to the subject emails(produced four times from
26
     different users' email accounts) was produced identifying these specific emails as privileged. (See Exh.
27
     (C; Ellis Decl., at ¶ 9.) The privilege was asserted when the emails were produced. (Id.) These emails
z$
                                                       -9-
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     were required to be given back, which class counsel has not yet done despite the request to do so. (See
2
     Exh. C; Ellis Decl., at ¶ 10.)
 3
                                            IV.      CONCLUSION
4

 5         For the reasons stated above, the motion to add Ms. Richardson as a class representative in this

6 matter is not warranted — at least not at this time. She is not necessary, as the four certified classes already

 7         a representative —Ignacio Perez, who this Court has found to be an adequate representative.

 8 Although little discovery has been completed in Richardson, Ms. Richardson does not appear to be an

 9 ''adequate representative because Rash Curtis did not discover her cell phone number through skip tracing.

10 Rather, it was provided by Dr. Greer to Rash Curtis in connection with the referral of Account 2721282

11 on September 19, 2016, and on whose behalf Rash Curtis undertook collection efforts thereafter.

12 Although the number was later added to phone field 8 — so as not to be autodialed,6 this, at the very least,

13 creates a factual issue as to the typicality of Ms. Richardson's claims in comparison with the McMillion

14 allegations, such that she has not been shown to be an adequate class representative on the record as it

15 currently exists.

16
     ~ Dated: December 18, 2017
17                                                ELLIS LAW GROUP LLP

18
                                                  By lsl Mark E. Ellis
19                                                Mark E. Ellis
                                                  Attorney for Defendant
20                                                RASH CURTIS &ASSOCIATES

21

22

23

24

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26

27
   6 It maybe the number appeared twice —once in phone fields 1-4(permitting autodialing), and once in
28 fields 5-10(not permitting autodialing).
                                                       - 10 -
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                                RICHARDSON AS CLASS REPRESENTATIVE
